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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                                         §    Case No. 18-30264-SGJ-11
                                               §    Case No. 18-30265-SGJ-11
ACIS CAPITAL MANAGEMENT, L.P. and              §
ACIS CAPITAL MANAGEMENT GP, LLC,               §    (Jointly Administered Under Case No.
                                               §    18-30264-SGJ-11)
                                               §
                    Debtors.                   §    Chapter 11

    JOINT OBJECTION OF HIGHLAND CAPITAL MANAGEMENT, L.P. AND
   HIGHLAND CLO FUNDING, LTD. TO FINAL APPROVAL OF DISCLOSURE
STATEMENT AND TO CONFIRMATION OF THE JOINT PLAN FOR ACIS CAPITAL
      MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC

         Highland Capital Management, L.P. (“Highland”) and Highland CLO Funding, Ltd.

(“HCLOF”) hereby file their joint objection (the “Objection”) to final approval of the

disclosure statement [Doc. No. 442] (as amended, the “Disclosure Statement”) and to

confirmation of the First Amended Joint Plan for Acis Capital Management, L.P. and Acis

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Capital Management GP, LLC [Doc. No. 441] (as amended, the “Plan”),1 and respectfully state

as follows:2


                                                I.
                                      PRELIMINARY STATEMENT

               “If at first you don’t succeed, try, try again.” –William Edward Hickson

         1.        In proposing Plans A, B and C, it would appear that the Chapter 11 Trustee has

taken this old adage to heart. Although originally penned as a motivator to would-be teachers, in

the context of these bankruptcy proceedings, this approach by the Chapter 11 Trustee has proven

to be a colossal waste of time and resources at a cost to the estates that eclipses not only the

value of the estates’ assets, but the very pre-petition claims the Chapter 11 Trustee is purportedly

responsible for paying. The result of this case appears to be nothing more than functionally

administratively insolvent estates with mountains of administrative claims continuing to accrue

daily.

         2.        By their literal interpretation, the Chapter 11 Trustee’s Plans, supported by

unequivocal admissions in his pleadings, establish that post-petition, he has intentionally

breached pre-petition contractual obligations of the Debtors to create a purported $100 million

post-petition claim against the estates for an entity that had no claims against the estates when

the Orders for Relief were entered.                 By his own account, he has rendered the estates

administratively insolvent. Having thus admitted to putting the estates into this predicament—

which under almost every other measure would be considered a flagrant breach of fiduciary


1
 Defined terms herein shall be as set forth in the Plan unless otherwise provided herein.
2
  HCLOF has filed no proof of claim in these cases, seeks no monetary relief from the Debtors, and has moved to
amend its pending adversary proceeding claim to reflect that it no longer seeks the equitable claims that it sought
previously (such claims are moot in any event). Nonetheless, HCLOF objects on the basis that the proposed plans
propose either to take its property or alter its contractual and legal rights. HCLOF asserts no creditor standing in any
of the objections set forth herein, and makes these objections as a party in interest given the substantial harm the
plans propose to impose on it.

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duty—he is now championing to “fix” the situation by either (i) taking non-estate property from

the purported (involuntary) claimant and selling it along with some executory contracts of the

estates that are otherwise valueless, then distributing the ill-gotten proceeds after carving off a

substantial fee for himself, or (ii) re-writing multiple securities contracts to which the estates are

not a party in order to not only insulate the estates from the consequences of his self-proclaimed

intentional breach, but to radically alter the bargained-for rights of third party market participants

in five collateralized loan obligation funds with over $2 billion at stake, none of which ever

belonged to the Debtors.

         3.        What the Chapter 11 Trustee is proposing under each of Plans A, B and C violates

some of the most basic tenets of Title 11 and ignores the very confines of this Court’s

jurisdiction. These Plans are patently unconfirmable with an unconscionable premise: that a

Chapter 11 Trustee should be handsomely rewarded for an intentional post-petition breach of the

estates pre-petition contractual obligations. Such a conclusion is beyond the pale no matter how

allegedly noble the cause. These cases should be either dismissed or, at most, converted back to

Chapter 7 liquidation.


                                            II.
                                   RELEVANT BACKGROUND

         4.        On January 30, 2018, Joshua N. Terry (“Terry”) filed involuntary petitions for

relief under Chapter 7, Title 11 of the United States Code (the “Bankruptcy Code”) against Acis

Capital Management, L.P. and Acis Capital Management GP, LLC (“Acis GP,” and with Acis

LP, the “Debtors”). A Chapter 7 Trustee was thereafter appointed.

         5.        On May 4, 2018, the Chapter 7 Trustee filed an Expedited Motion to Convert

Cases to Chapter 11 [Doc. No. 171] (the “Motion to Convert”). Also on May 4, 2018, Terry

filed an Emergency Motion for an Order Appointing Trustee for the Chapter 11 Estates of Acis

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Capital Management, L.P. and Acis Capital Management GP, LLC Pursuant to Bankruptcy

Code Section 1104(a) [Doc. No. 173] (the “Motion to Appoint Chapter 11 Trustee”).

         6.        On May 11, 2018, after a hearing on the matter, the Court entered orders granting

the Motion to Convert [Doc. No. 205] and the Motion to Appoint Chapter 11 Trustee [Doc. No.

206]. Thereafter, the United States Trustee appointed Robin Phelan as Chapter 11 Trustee (the

“Chapter 11 Trustee”).3

         7.        On July 5, 2018, the Chapter 11 Trustee filed the initial Plan [Doc. No. 383],

which proposed three (3) alternatives – Plans A, B and C. In summary, Plan A of the Chapter 11

Trustee’s Plan proposes to transfer HCLOF’s Equity Notes, along with the portfolio management

agreements (the “PMAs”) to which Acis LP is a counter-party, to a third party “plan funder,”

which is Oaktree. Through this transaction, the Chapter 11 Trustee claims that all creditors will

be satisfied in full. Alternatively, the Chapter 11 Trustee has proposed Plans B and C, which are

effectively identical in their treatment of creditors and call for Acis LP to retain the PMAs and

pay out creditors from future cash flow streams therefrom, as well as potential recoveries from

estates’ causes of action. Both Plans B and C require radical modification to of the CLO

Indentures, ostensibly to ensure the future income stream to the estates.

         8.        On July 13, 2018, the Chapter 11 Trustee filed (i) the Disclosure Statement [Doc.

No. 405]; (ii) the First Modification to the Joint Plan for Acis Capital Management, L.P. and

Acis Capital Management GP, LLC [Doc. No. 406]; and (iii) the Motion for Entry of Order (A)

Conditionally Approving Disclosure Statement; (B) Scheduling Combined Hearing on Final

Approval of Disclosure Statement and Confirmation of Plan, and Setting Related Deadlines; (C)




3
 Mr. Phelan was initially appointed on May 11, 2018 as the Chapter 11 Trustee of Acis LP and was appointed on
May 16, 2018 as the Chapter 11 Trustee of Acis GP.

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Approving Forms for Voting and Notice; and (D) Granting Related Relief [Doc. No. 407] (the

“Motion for Conditional Approval”).

         9.        On July 24, 2018, Highland and HCLOF filed respective objections to the Motion

for Conditional Approval, [Doc. No. 431] and [Doc. No. 432]. On July 28, 2018, Highland filed

a supplement to such objection [Doc. No. 440]. In each objection, Highland and HCLOF

reserved rights to object to the final approval of the Disclosure Statement.

         10.       On July 29, 2018, the Chapter 11 Trustee amended the Plan and Disclosure

Statement following an expedited hearing on the Motion for Conditional Approval held earlier

that day. Thereafter, on July 30, 2018, the Court entered the Order (I) Conditionally Approving

Disclosure Statement, (II) Scheduling Combined Hearing on Final Approval of Disclosure

Statement and Confirmation of Plan, and Setting Related Deadlines, (III) Approving Forms for

Voting and Notice, and (IV) Approving Related Matters [Doc. No. 446] (the “Conditional

Approval Order”), conditionally approving the Disclosure Statement, setting an August 21,

2018 combined hearing for final approval of the Disclosure Statement and confirmation of the

Plan, and setting related deadlines, including a compressed and expedited discovery schedule

(the “Discovery Schedule”).

         11.       The Conditional Approval Order required the Chapter 11 Trustee to file a

“Limited Issues Brief” on or before 4:00 p.m. on August 10, 2018, addressing: (a) issues related

to section 1142 of the Bankruptcy Code in connection with the proposed transfer of HCLOF’s

subordinated notes under the Plan A alternative, and (b) issues related to sections 365 and

1123(a)(5)(F) of the Bankruptcy Code in connection with the proposed modification of the

existing Indentures under the proposed Plan B and Plan C (collectively, the “Limited Issues”).




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Also as per the Conditional Approval Order, the deadline for parties to respond to the Limited

Issues Brief is 4:00 p.m. on August 16, 2018.

         12.       Per the Discovery Schedule, the Chapter 11 Trustee filed the Limited Issues Brief

on August 10, 2018 [Doc. No. 493]. Highland and/or HCLOF intend to timely respond to the

Limited Issues Brief per the Discovery Schedule. As such, while certain Limited Issues are

mentioned herein, Highland and HCLOF reserve all rights on those issues for subsequent

objection. Per the Discovery Schedule, this joint objection is to cover matters other than the

Limited Issues; provided, however, discovery is actually occurring after the deadline to file this

objection. Thus, Highland and HCLOF reserve their rights to supplement these objections.


                                               III.
                                            OBJECTION

         13.       In order to confirm the Plan, the Chapter 11 Trustee bears the burden of

establishing the various provisions of Bankruptcy Code section 1129 by a preponderance of the

evidence. See In re Couture Hotel Corp., 536 B.R. 712, 732 (Bankr. N.D. Tex. 2015). The Plan

is deficient on almost every applicable subsection of 1129 and, as a result, the Plan is

unconfirmable as a matter of law.

A.       The Bankruptcy Court Lacks Subject Matter Jurisdiction to Confirm the Plan

         14.       The Bankruptcy Court lacks subject matter jurisdiction over this proceeding and,

therefore, proceeding with confirmation of any plan will be void ab initio. This Court should

have dismissed the involuntary petitions that were filed by Joshua Terry in bad faith, and because

this Court lacks subject matter jurisdiction over essentially a two-party dispute subject to

arbitration. See Brief of Appellant Neutra (Case No. 3:18-cv-01056 (N.D. Tex.), [Doc. No. 11].

         15.       Even assuming this Court has subject matter over this proceeding, the Plans

violate the strictures of that jurisdiction in at least two critical and insurmountable ways:

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                   a.   Plan A is premised on the taking of non-estate property without its owners
                        consent; and

                   b.   Plans B and C are premised on radically altering non-estate executory
                        contracts.

         16.       The Court’s lack of subject matter jurisdiction is so fundamental, that frankly the

Court need look no further. The Chapter 11 Trustee has presented the Court with patently

unconfirmable Plans. Section 1129(a)(1) and (a)(2) require, respectively, that the plan and the

plan proponent, comply with the applicable provisions of the Bankruptcy Code. The Chapter 11

Trustee’s Plan A, however, asks this Court to exceed its constitutional and statutory authority to

infringe upon the rights of a non-creditor and effect a taking of non-estate property (the “Equity

Notes”) via an equitable subrogation theory that is completely contrary to the law, and convert

that non-estate property into “property of the estate,” so that he can then sell it to a third party

(Oaktree). This Court cannot approve this scheme because it has no jurisdiction to do so.

Confirming Plan B or C likewise would require the Court to exceed its authority because both

plans are premised on the nonconsensual alteration of non-executory contracts. Worse yet, the

amendments will be to the determent of third parties who are not creditors of these estates and

who are not remotely implicated in these proceedings.              This Court simply has no such

jurisdiction.

         17.       It is fundamental that bankruptcy courts do not have subject matter jurisdiction

over property that does not belong to a debtor’s estate. See TMT Procurement Corp. v. Vantage

Drilling Co. (In re TMT Procurement Corp.), 764 F.3d 512, 525 (5th Cir. 2014) (bankruptcy

court did not have in rem jurisdiction over assets that were not “property of the estate”); see also

Scott v. Bierman, 429 F. App’x. 225, 231 (4th Cir. 2011) (“[A] bankruptcy court’s jurisdiction

does not extend to property not part of a debtor’s estate.”); see also NovaCare Holdings, Inc. v.

Mariner Post-Acute Network, Inc. (In re Mariner Post-Acute Network, Inc.), 267 B.R. 46, 59

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(Bankr. D. Del. 2001) (same); In re Funneman, 155 B.R. 197, 199-200 (Bankr. S.D. Ill. 1993)

(partnership property was not property of the debtor-partner’s estate and, therefore, outside the

court’s subject matter jurisdiction).

         18.       These jurisdictional principles exist to protect the very type of non-debtor

property interests that are at issue in this case. And they apply even when the property would

benefit a debtor’s estate. See, e.g., Vineyard v. McKenzie (In re Quality Holstein Leasing), 752

F.2d 1009, 1013 (5th Cir. 1985) (noting the limitations placed on the trustee’s strong arm powers

by section 541, and stating that “Congress did not mean to authorize a bankruptcy estate to

benefit from property that the debtor did not own.”).

         19.       Before the Court can order a transfer of the Equity Notes to Oaktree, it would

necessarily have to find that they constitute “property of the estate.”                    If the Court cannot

conclude that the Equity Notes are property of the estate, then it will lack jurisdiction to order

their transfer by any means. See, e.g., In re Murchison, 54 B.R. 721, 725 (Bankr. N.D. Tex.

1985). (finding that the court was without jurisdiction to approve the sale of property that was

not property of the estate: “Because the criterion of § 541(a)(1) has not been satisfied, §

363(b)(1) cannot apply.”).4

         20.       Section 541 of the Bankruptcy Code defines “property of the estate” as, in

relevant part, (i) “all legal or equitable interests of the debtor in property as of the commence of

the case,” (ii) “[a]ny interest in property that the trustee recovers under section 329(b), 363(n),

543, 550, 553, or 723 of this title,” and (iii) “[a]ny interest in property that the estate acquires

after the commencement of the case.” 11 U.S.C. §§ 541(a)(1), (a)(3), (a)(7).


4
  Bankruptcy courts have been held to be without jurisdiction to order the sale of non-estate assets, even where the
sale was entirely consensual. See, e.g., First Nat’l Bank v. Community Trust Bank, No. 05-1610, 2006 WL 724882,
at *4 (W.D. La. Mar. 21, 2006) (“Since the property was not part of the bankruptcy estate, the Bankruptcy Court had
no authority or jurisdiction to order the consensual sale and, therefore, the sale was void”).

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         21.       Neither the Chapter 11 Trustee nor his proposed transferee, Oaktree, dispute that

the Equity Notes are the property of HCLOF. See July 6, 2018 Hrg. Tr. at 71:19-25; 119:11-18.

Nor has the Chapter 11 Trustee obtained an interest in the Equity Notes via any of the

Bankruptcy Code sections enumerated in section 541(a)(3). Thus, for the Equity Notes to be

“property of the estate,” they would necessarily have to be “property that the estate[s] acquire

after the commencement of the case” under section 541(a)(7).5

         22.       Upon first blush, that would seem to require only that the Chapter 11 Trustee

prevail upon his equitable subrogation theory, thereby converting the Equity Notes into

“property of the estate.” However, even if the Chapter 11 Trustee successfully can obtain

ownership of the Equity Notes, such property acquired post-petition is not “property of the

estate” under section 541(a)(7).

         23.       Under controlling Fifth Circuit law, section 541(a)(7) only applies to “property

interest that are themselves traceable to ‘property of the estate’ or generated in the normal course

of the debtor’s business.” In re TMT Procurement Corp., 764 F.3d at 524-25 (“As we previously

recognized in In re McLain, ‘Congress enacted § 541(a)(7) to clarify its intention that § 541 be

an all-embracing definition and to ensure that property interests created with or by property of

the estate are themselves property of the estate”) (citing In re McLain, 516 F.3d 301 (5th Cir.

2008)) (emphasis added); see also In re Cent. Med. Ctr., 122 B.R. 568 (Bankr. E.D. Mo. 1990)

(“Congress did not intend Section 541 ‘to enlarge a debtor’s rights against others beyond those


5
  The Chapter 11 Trustee also does not, and cannot, dispute the axiom that the debtor in possession or trustee steps
into the shoes of a debtor and possesses no greater rights than that of the debtor. See Majestic Star Casino, LLC v.
Barden Dev., Inc. (In re Majestic Star Casino, LLC), 716 F.3d 736, 748 (3d Cir. 2013) (“It is a given that the trustee
or debtor-in-possession can assert no greater rights than the debtor himself had on the date the bankruptcy case was
commenced.”) (internal alterations omitted)); In re Gibralter Res., Inc., 197 B.R. 246, 253 (Bankr. N.D. Tex. 1996)
(“the general rule is that a trustee has no greater rights than the debtor and stands in the shoes of the debtor”); In re
Brooks, 60 B.R. 155, 160 (Bankr. N.D. Tex. 1986) (“Of course, a bankruptcy trustee can acquire no greater rights in
property than the debtor possessed.”) (citation omitted)). The Debtors had no right to sell the Equity Notes before
the commencement of these bankruptcy cases and have no such rights now.

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existing at the commencement of the case..’”) (citing In re N.S. Garrott & Sons, 772 F.2d 462,

466 (8th Cir. 1985)). That is not the case with the Equity Notes, which are not traceable to any

property of the estate, but under the Chapter 11 Trustee’s (unsupportable) theory, are property of

the estate as a result of a subrogation right that purportedly vested with the estates post-petition.

        24.        The property at issue in In re TMT Procurement was certain corporate shares that

were pledged by a non-debtor third party into a court-ordered escrow that served as the collateral

for the debtors’ DIP loan. In re TMT Procurement Corp., 764 F.3d at 524. The shares never

belonged to the debtors at issue. Id. at 524-25. The corporation whose shares had been pledged

appealed the orders of the district court (which had withdrawn the reference from the bankruptcy

court), arguing that the district court did not have jurisdiction to issue orders with respect to the

shares, which were not “property of the estate.” Id. at 522-23.

        25.        The Fifth Circuit, vacating the district court’s order, rejected the debtors’

argument that the shares were property of the estate under section 541(a)(7). In doing so, the

Fifth Circuit made clear that: “[T]he Vantage Shares are not ‘property of the estate’ under

§ 541(a)(7) because they were not created with or by property of the estate, they were not

acquired in the estate’s normal course of business, and they are not traceable to or arise out of

any pre-petition interest included in the bankruptcy estate.”        Id. at 525 (rejecting also the

argument that the tracing limitation did not apply to corporate debtors in chapter 11

bankruptcies).

        26.        The Plan does not satisfy sections 1129(a)(1) and (a)(2) because it seeks to

impermissibly expand the scope of estate property and requires the Court to exceed its

jurisdiction. The Equity Notes were not “property of the estate” at the commencement of these

cases and the Chapter 11 Trustee has not obtained the Equity Notes through one of the



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enumerated sections in Section 541(a)(3). Nor are the Equity Notes traceable to any property of

the estate. Therefore, the Plan cannot be confirmed. See In re Cent. Med. Ctr., 122 B.R. at 573

(holding that the plan failed to satisfy section 1129(a) “[b]ecause the Plan violates Section 541(a)

due to its improper expansion of the estate’s interest” in certain funds in which it only had a

reversionary interest at the commencement of the case; the plan “baldly seeks to divest the

bondholders of property which is rightfully theirs.”).

B.       Sections 1129(a)(1), (3) – The Plan Violates the Bankruptcy Code and Violates
         Other Applicable Law

         27.       Bankruptcy Code section 1129(a)(1) requires that a plan comply “with the

applicable provisions of this title,” and section 1129(a)(3) states that a plan cannot be proposed

“by any means forbidden by law.” As to section 1129(a)(1), the Plan violates well-accepted

tenets of bankruptcy law because the Chapter 11 Trustee seeks to (i) take possession of non-

estate property and (ii) fundamentally alter non-debtor executory contracts. These are included

among the Limited Issues and will be set forth in the response to the Limited Issues Brief.

         28.       As to section 1129(a)(3), despite the Chapter 11 Trustee’s obfuscations regarding

“transfers” and other similar self-serving characterizations, the practical reality is that the Plan A

transaction effects a sale of the Equity Notes to Oaktree. The Equity Notes are undoubtedly

securities. See Reves v. Ernst & Young, 494 U.S. 56, 65 (1990); Arco Capital Corps. Ltd. v.

Deutsche Bank AG, 949 F. Supp. 2d 532, 542-43 (S.D.N.Y. 2013) (finding sale of CLO notes to

be a sale of a security under Morrison v. Nat’l Australian Bank Ltd., 561 U.S. 247 (2010)). Any

sale of securities must comport with the requirements of federal securities laws, including the

Securities Act of 1933 (the “’33 Act”).6


6
 Moreover, none of the Indentures or other relevant documents permit the Chapter 11 Trustee, on behalf of Acis, or
otherwise, to market HCLOF’s Equity Notes for sale. The Chapter 11 Trustee cannot sell the Equity Notes in
violation of the terms of the Indentures, and seek at the same time to retain the benefits of the Indentures.

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         29.       Section 77e of the ’33 Act makes it unlawful “to offer to sell or offer to buy . . .

any security, unless a registration statement has been filed as to such security.” 15 U.S.C.

§ 77e(c).7 The Chapter 11 Trustee has not filed a registration statement covering his proposed

sale of the Equity Notes.

         30.       Section 1145(a)(1) and (a)(2) do not absolve the Chapter 11 Trustee from

compliance with these requirements because Oaktree is not receiving the Equity Notes on

account of claims against the estates. See also SEC v. Universal Express, Inc., 475 F. Supp. 2d

412, 425 (S.D.N.Y. 2007) (“[T]he section 1145(a) exemption is available only when the offerees

are receiving the securities, at least in part, in exchange for claims against or interests in the

debtor which they hold.” (internal citation omitted)).

         31.       The mechanism set forth in the Plan for the transfer of the Equity Notes makes

plain that Oaktree is not the initial transferee (or subrogee). Instead, the initial transferee are the

bankruptcy estates. As described, the estates will then transfer the notes to Oaktree. Because

Oaktree will not be receiving the Equity Notes in exchange for claims or interests that Oaktree

has against the Debtors, the section 1145(a) exemption cannot, and does not, apply.

         32.       Bankruptcy Code section 1145 provides a limited exemption when the Chapter 11

Trustee sells a security “of an issuer other than the debtor or an affiliate”                        11 U.S.C. §

1145(a)(3). The exemption allows trustees to raise cash for an estate while protecting purchasers

by requiring that adequate information about the securities is available.                         This “portfolio

securities” exemption should be strictly construed because public policy strongly supports the

registration of securities.      See Quinn & Co. v. S.E.C., 452 F.2d 943, 946 (10th Cir. 1971); 8


7
 In any litigation or enforcement action, it would be the Chapter 11 Trustee’s burden to show the applicability of an
exemption to this requirement. E.g., SEC v. Carrillo Huettell LLP, No. 13 Civ. 1735(GBD)(JCF), 2017 WL
213067, at *3 n.7 (S.D.N.Y. Jan. 17, 2017). The Chapter 11 Trustee has not argued that any of these exemptions
apply. See 15 U.S.C. § 77d (providing exemptions to registration requirements).

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Collier on Bankr. ¶ 1145.02 (16th ed. 2018). This exemption requires that (1) the debtor own the

security on the date the bankruptcy petition was filed; (2) any exempt securities are not securities

of the debtor’s affiliates; (3) the issuer of the securities is in full compliance with registration and

disclosure laws; and (4) the volume of the securities sold be limited to less than 4% of shares

outstanding. 11 U.S.C. § 1145(a)(3).

         33.       The Chapter 11 Trustee’s Plan A transaction clearly does not qualify for this

exemption. First, neither the Chapter 11 Trustee nor the Debtors owned the Equity Notes on the

date the bankruptcy petition was filed, nor do they own them now. Second, the proposed sale

would be far in excess of the 4% threshold permitted by the exemption. Because the section

1145 exemptions do not apply, the Chapter 11 Trustee will be in violation of the ’33 Act.

         34.       In addition to violating the ’33 Act, the Plan violates the Investment Advisors Act

of 1940 (the “IAA”). It is clear that the Chapter 11 Trustee owes fiduciary duties to HCLOF and

its investors. In agreeing to manage the CLO investments, Acis LP represented to the CLOs that

it is “registered as an investment adviser” under the IAA and agreed to perform its portfolio

management services consistent with the IAA. See, e.g., 2013-1 PMA § 17(b)(i). The IAA

imposes a fiduciary duty on Acis LP to act for the benefit of the CLO and its investors, including

Equity Noteholders like HCLOF. See Transamerica Mortg. Advisors v. Lewis, 444 U.S. 11, 36

(1979) (“Congress intended to impose enforceable fiduciary obligations” in passing the Act); 15

U.S.C. § 80b-6.8 The scope of Acis LP’s (and thus the Chapter 11 Trustee’s) fiduciary duties is

broad. The Chapter 11 Trustee’s obligations include a duty to refrain from conduct that directly

harms the CLOs, as well as the more general duty of undivided loyalty. See Bullmore v. Banc of


8
  Acis LP also owes fiduciary duties as an investment advisor under New York’s common law. See Bullmore v.
Ernst & Young Cayman Islands, 846 N.Y.S.2d 145, 148 (N.Y. App. Div. 2007) (“Professionals such as investment
advisors, who owe fiduciary duties to their clients, ‘may be subject to tort liability for failure to exercise reasonable
care, irrespective of their contractual duties . . . .”) (citations omitted).

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Am. Sec. LLC, 485 F. Supp. 2d. 464, 471 (S.D.NY. 2007) (applying New York law). Each of

the plans proposed by the Chapter 11 Trustee rest upon a flagrant violation of Acis LP’s

fiduciary duties: Plan A proposes to sell HCLOF’s property without its consent and Plan B and

Plan C propose to impermissibly modify the Indentures to strip HCLOF and the other

noteholders of their right to call a redemption. These issues will be more thoroughly addressed

in HCLOF and Highland’s response to the Chapter 11 Trustee’s Limited Issues Brief.

        35.        Moreover, the Chapter 11 Trustee cannot disclaim the duties he owes to the CLOs

and the investors under the contracts and securities laws, including the IAA. In one analogous

case, In re New Center Hospital, 200 B.R. 592 (E.D. Mich. 1996), the chapter 11 trustee sought

to escape the duties of the debtor-hospital as the administrator of an employee benefit plan

governed by ERISA. The chapter 11 trustee argued that if he were to administer the plan, he

would be required to act solely in the interest of the ERISA plan beneficiaries which would be in

conflict with his duties to the bankruptcy estates; therefore, he could not serve as an ERISA

fiduciary and a bankruptcy estate fiduciary at the same time. Id. The district court rejected this

argument and overturned the decision of the bankruptcy court, concluding that, “[t]he

Bankruptcy Trustee assumes the positon of the debtor as to that debtor’s many obligations.

Courts have held that statutory obligations that bind the debtor will subsequently bind the

bankruptcy estate.” Id. (internal citations omitted). Likewise, the Chapter 11 Trustee is bound to

perform the obligations and duties of Acis LP under relevant contract and applicable law,

including the IAA. Because the Chapter 11 Trustee has put forth a Plan that violates such duties,

he cannot meet the section 1129(a)(3) standard that the Plan is not “forbidden by law.”

C.      Section 1129(a)(3) – The Plan Was Not Proposed in Good Faith

        36.        Bankruptcy Code section 1129(a)(3) further provides that a plan must be

proposed in good faith. The Chapter 11 Trustee, as proponent of the Plan, bears the burden of
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demonstrating that it was filed in good faith. In re Barnes, 309 B.R. 888, 892 (Bankr. N.D. Tex.

2003). A good faith plan “must fairly achieve a result consistent with the [Bankruptcy] Code.”

Id. (quoting In re Block Shim Dev. Co. – Irving, 939 F.2d 289, 292 (5th Cir. 1991)). Good faith

itself is “evaluated in light of the totality of the circumstances surrounding establishment of [the]

plan, mindful of the purposes underlying the Bankruptcy Code.” In re Village at Camp Bowie I,

L.P., 710 F.3d 239, 247 (5th Cir. 2013). The ultimate goal of the analysis is to determine the

“subjective motive” of a plan proponent. In re Texas Star Refreshments, LLC, 494 B.R. 684, 694

(Bankr. N.D. Tex. 2013).

           37.     The record demonstrates there was virtually no negotiation of the economic terms

of the Oaktree proposal, and in particular there was no effort by the Chapter 11 Trustee to secure

the highest possible price for the Equity Notes.9 The purported consideration for the PMAs was

clearly based not on any actual metric of value for those contract rights, but on an amount

necessary to pay Josh Terry’s claim. Certainly as to the Equity Notes, this was not a negotiation

between a willing seller and a willing buyer – the seller was not even present. It is instead a

scheme, concocted in bad faith, to take property from one party and provide a windfall to other

parties.

           38.     Moreover, improper motives have tainted these bankruptcy cases from the

beginning. Joshua Terry initiated these proceedings on the eve of a state court hearing to

consider the very relief he then requested from this Court. From the very beginning, Terry has

made clear his motivation for initiating the involuntary bankruptcy: to prevent Acis LP from

9
 The Chapter 11 Trustee has testified that he engaged in no substantive negotiation concerning the sale price of the
Equity Notes. See Transcript of July 6, 2018 hearing at 75:14-16; 76:6-8:
        MR. MALONEY. Was there any negotiation over the price formula that they were proposing for
        the subordinated notes?
        MR. PHELAN. No . . .
        ...
        Q. Now you didn’t ask that they increase that at all?
        A. No.

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meeting its contractual obligation to effectuate the reset requested by the equity—so that the

Debtors could continue to earn management fees they are not entitled to.10

        39.        The Chapter 11 Trustee has adopted Terry’s cause.

        40.        At the end of the day, these bankruptcy cases and the Plan amount to nothing but

a free option play by Terry, the Chapter 11 Trustee, and Oaktree to monetize PMAs with less

than nominal value, at the expense of Highland (who is effectively funding the administrative

expenses of these cases on account of the substantial management fees being withheld from it)

and HCLOF (who is being denied its contractual rights with non-debtor parties and stripped of

its own property against its will to fund that payment). The Chapter 11 Trustee has nothing to

lose from this strategy – he can turn an asset with little or no value into a big pay day for Terry

and himself. Oaktree similarly has nothing to lose – if it doesn’t end up getting the Equity Notes,

it walks away with all its expenses paid and a $2.5 million break-up fee for its time.

        41.        In these circumstances, the Court should not make a good faith finding.

D.      Section 1129(a)(5) – The Plan Does Not Properly Disclose or Address Insider Issues

        42.        Bankruptcy Code section 1129(a)(5)(A)(i) requires a plan proponent to disclose

“The identity and affiliations of any individual proposed to serve, after confirmation of the plan,

as a director, officer, or voting trustee of the debtor, an affiliate of the debtor participating in a

joint plan with the debtor, or a successor to the debtor under the plan.” Under both Plan B and

Plan C, Terry is slated to receive 100% of the equity in the Reorganized Debtor (as well as,

inexplicably, any residual assets of the Acis Trust upon payment in full of all creditors). Terry

therefore clearly comes within the definition of individuals described in section 1129(a)(5)(A)(i).
10
   Among the things acknowledged by Terry at the involuntary trial in March 2018 was the fact that he “had no
issues with the rest or refinance transaction. [Rather,] the issue was that these collateral-management agreements
were transferred for no consideration to Acis.” March 21, 2018 Hrg. Tr. At 132:16-19. Note, however, that fees
would not continue to be payable under the PMAs following a reset in any circumstance. See also Id. at 27:22-28:1:
“Q: And you knew there was an extreme likelihood that the [reset] transaction was not going forward as a result of
the bankruptcy filing, correct? MR. TERRY: Yes, that was our goal on filing the involuntary petitions.”

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While Terry’s identity is disclosed in Plans B and C, his affiliations are not. Specifically, the

Chapter 11 Trustee makes no effort to describe Terry’s relationship and affiliations with other

parties in interest in this case including (without limitation) Oaktree, Brigade Capital

Management, L.P., and Cortland Capital Markets Services LLC. Furthermore, the Chapter 11

Trustee does not disclose or otherwise describe the post-petition affiliation between Terry and

the Chapter 11 Trustee himself. Discovery in this matter has revealed, and evidence at the

confirmation hearing will further demonstrate, that Terry has essentially acted as the co-trustee in

this case. This includes: taking it upon himself to market the Debtors’ assets, introducing the

Chapter 11 Trustee to Oaktree, participating in most substantive communications with Oaktree,

and participating in the formulation of a Plan that (under Plans B and C) hands control of the

Debtors over to him. On this record, it is clear that Terry’s affiliations have not been disclosed,

in violation of section 1129(a)(5)(A)(i).

        43.        While Terry’s undisclosed affiliations is a significant issue in and of itself, the

relationship between Terry and the Chapter 11 Trustee raises yet another, troubling issue. The

facts of this case lead inexorably to the conclusion that Terry is an insider of the Plan proponent

(i.e., the Chapter 11 Trustee). The term “insider” is defined in Bankruptcy Code section 101(31)

to “include” parties who have certain officer, director, or ownership interests in a debtor.

However, the concept of a non-statutory insider has been recognized by many courts, including

the Supreme Court. See U.S. Bank N.A. v. Village at Lakeside, LLC, 138 S. Ct. 960 (2018). The

Fifth Circuit has identified the following factors to consider when determining whether a party is

non-statutory insider: (1) the closeness of the relationship between the party and the debtor; and

(2) whether the transactions between the party and the debtor were conducted at arms-length.

Browning Interests v. Allison (In re Holloway), 955 F.2d 1008, 1011 (5th Cir. 1992).



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Importantly, cases recognize that control over the debtor is not a requirement for determining

non-statutory insider status. See, e.g., In re The Village at Lakeridge, LLC, 814 F.3d 993, 1001

(9th Cir. 2016); Anstine v. Carl Zeiss Meditec AG (In re U.S. Med., Inc.), 531 F.3d 1272, 1277

n.5 (10th Cir. 2008).

        44.        The ultimate point of analyzing whether any party is an insider is to determine

whether such party is using “their privileged position to disadvantage non-insider creditors.” See

In re South Beach Secs., Inc., 376 B.R. 881, 888 (Bankr. N.D. Ill. 2007). Insider status is also

critical for determining whether a party’s desire to obtain, or maintain, control over a debtor is

motivating the party. See In re Rexford Props., LLC, 557 B.R. 788, 799 (Bankr. C.D. Cal. 2016)

(noting that insiders seeking to retain ownership of the reorganized debtor were “influenced by

totally different considerations from those motivating the other creditors.”) (quoting In re

Featherworks Corp., 25 B.R. 634, 640 (1st Cir. BAP 1982)).

        45.        In this case, the Chapter 11 Trustee is the proponent of the Plan. Plan proponent

insiders should be scrutinized because they, like a debtor insider, may be using a plan process to

benefit their “privileged position.” For example, in In re Allegheny Int’l, Inc., 118 B.R. 282

(Bankr. W.D. Pa. 1982), the court found that a non-debtor plan proponent (Japonica Partners,

L.P.) was considered an insider because Japonica during the case had access to “voluminous and

thorough” information available only to insiders. Moreover, the court noted that while Japonica

“did not have actual control or legal decision making power [over the debtor] . . . [Japonica]

attempted to influence, in not very subtle ways, decisions made by the debtor.” Id. at 298.

        46.        Terry’s actions fit perfectly into such a non-statutory insider analysis. A review

of the Plan makes plain Terry’s favorable treatment. His claim is separately classified, the claim

is treated the same as an entirely secured claim would be, despite the fact that Terry did not even



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alleged his claim was fully secured, he is being permitted to use $1 million to acquire Acis LP’s

equity, despite the fact that the claim on file is less than $1 million, and the Chapter 11 Trustee

has made no indication that Terry’s secured claim may be avoided, despite the fact that the

garnishment took place well within the 90-day pre-petition preference period.

        47.        In addition, while Terry is not in formal “control” of the Chapter 11 Trustee,

Terry had access to voluminous insider information during the pendency of this case and he

clearly influenced decisions made by the Chapter 11 Trustee. Nothing about the relationship

between Terry and the Chapter 11 Trustee suggests that they acted at arms-length. Moreover,

Terry used his close relationship to further his non-creditor motivation to put into place

provisions that will allow him to take sole control over the Reorganized Debtor. Thus, Terry

meets every single element for establishing that he is a non-statutory insider of the Plan

proponent in this case. Moreover, any attempt by the Chapter 11 Trustee to distinguish the facts

and cases on the basis that the Chapter 11 Trustee is not the same entity as the Debtors is

specious. Once again, the Chapter 11 Trustee is the Plan proponent in this case. If a Chapter 11

trustee were able to hide behind an “I am not the debtor” argument, then it would follow that

parties could engage in all manner of inside dealing and wrongful acts with a trustee with

impunity. That makes no sense. The non-statutory insider analysis is designed to identify

whether a party has a close relationship that allows the party to influence the process to further

non-creditor goals (i.e., control). Terry meets that test with respect to the Plan proponent in this

case. And, as discussed below, the fact that Terry is a non-statutory insider means the Chapter

11 Trustee cannot cram down the Plan.




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E.         Sections 1129(a)(7) and 1129(b) – The Plan Is Not In the Best Interest of Creditors
           and Is Not Fair And Equitable

           48.      Bankruptcy Code sections 1129(a)(7) and 1129(b) require that a plan be in the

best interest of creditors and otherwise fair and equitable. First and foremost, Plans A, B, and C

are premised on actions that are not supported by the law. How could it ever be in the best

interest of creditors for a plan proponent to act outside the law? The Plan is a legal fallacy and,

even if confirmed, will be the subject of years of litigation and ever-increasing administrative

expense claims. That is not in the creditors’ best interests.

           49.      Also, included in a best interest of creditors analysis is a determination that

creditors who have not accepted the plan will receive no less under the Plan then they would in a

hypothetical Chapter 7 liquidation. In re Briscoe Enters., Ltd. II, 994 F.2d 1160, 1167 (5th Cir.

1993). This requires a valuation analysis comparing what the creditor would receive if the

property were sold today versus the value such creditor would receive as a creditor in a Chapter

7 case. Id.

           50.      The Chapter 11 Trustee cannot meet his burden on this valuation issue with

respect to HCLOF.11 It is undisputable that HCLOF was not a creditor as of the Petition Date.

That is, the basis for the Chapter 11 Trustee asserting that HCLOF is a creditor is the equitable

relief sought in an adversary proceeding brought by HCLOF against the Chapter 11 Trustee after

the Petition Date. In a hypothetical Chapter 7 case, there would simply be an orderly liquidation

and therefore no need to twist the law of equitable relief and subrogation to support a plan

process and HCLOF would keep its subordinated notes. As such, any liquidation analysis by the

Chapter 11 Trustee is a non-sequitur from the beginning because it would be based on the

facially incorrect assumption that HCLOF was a creditor on the Petition Date. Moreover, even if


11
     As noted, HCLOF asserts no creditor standing.

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that flaw is simply ignored (and there is no reason to do so), the valuation numbers do not add

up. The Plan proposes to pay HCLOF amounts based entirely on a May 2018 letter sent by

Highland. Evidence has shown in this case that circumstances have changed dramatically since

May 2018, and further, that HCLOF values its Equity Notes much higher than what is being

proposed under the Plan. The Chapter 11 Trustee bears the burden of rebutting that valuation

evidence and, based on the record of this case, he will not be able to meet such burden. In fact,

the Chapter 11 Trustee has not even substantively included HCLOF in its analysis purporting to

satisfy section 1129(a)(7)12 and he has advanced no expert witness to address the valuation issues

necessary to do so at the confirmation hearing. Therefore, the Chapter 11 Trustee cannot satisfy

the required test under section 1129(a)(7).

F.      Sections 1129(a)(8), (10) and 1129(b) – The Plan Does Not Meet the Requirements
        for Cram Down

        51.        Bankruptcy Code sections 1129(a)(8) requires that each impaired class vote in

favor of a plan. Bankruptcy Code section 1129(a)(10) permits a plan proponent to cram down a

plan on non-voting classes, as long as one class of impaired creditors votes in favor of the plan.

Insider votes are not counted for the purposes of consent under 1129(a)(10). Section 1129(b), in

turn, requires in a cram down plan that the plan not unfairly discriminate and is fair and equitable

to the non-voting creditors. Based on the record of this case, it is assumed that Class 3 (the Terry

Secured Claim) will be the only class with the claim amount and numerosity to be deemed

(according to the Chapter 11 Trustee) a consenting class. Therefore, in order to meet the cram

down confirmation requirements, the Chapter 11 Trustee has the burden of showing that:

(i) Terry is impaired; (ii) Terry is not an insider; and (iii) cramming the Plan down solely on



12
  The Chapter 11 Trustee’s liquidation analysis is attached as Exhibit 2-D to the Disclosure Statement. The amount
of the Class 2 HCLOF claim is listed as “TBD.” Id.

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Terry’s vote does not unfairly discriminate and is fair and equitable to other creditors. The

Chapter 11 Trustee cannot meet such a burden.

        52.        The Fifth Circuit interprets the concept of impairment broadly to include any

alternation of a creditor’s rights.      In re Village at Camp Bowie I, L.P., 710 F.3d at 245.

However, a broad interpretation does not mean that the concept of impairment does not exist.

The policy reason for requiring an impaired class to accept the plan under a cram down is to

ensure that at least one group of creditors that is “hurt . . . nonetheless favors the plan.” In re

One Times Square Assocs. Ltd. P’ship, 165 B.R. 773, 776-77 (S.D.N.Y. 1994) (emphasis added).

        53.        Here, no viable argument can be made that Terry is impaired under Plan A

because Plan A proposes to pay Terry in full with interest. The interest element, of course,

compensates Terry for any delay in receiving what he alleges he is owed. Paying a creditor in

full with interest is the very definition of non-impairment. Using a lone creditor, let alone in

insider such as Terry, should not be sufficient to fulfill the section 1129(a)(10) requirement.

This is a textbook case of using artificial impairment to generate an impaired accepting class.

        54.        Moreover, even if Terry were considered impaired under Plan A, Terry’s votes

should not be counted under any of the plans (A, B, or C) because Terry is a non-statutory

insider. The basis for deeming Terry a non-statutory insider is set forth above. Because of his

status as such, the Chapter 11 Trustee is prohibited by the plain language of section 1129(a)(10)

from relying on Terry’s votes to support a plan.

        55.        The final requirement for a cram down plan is that it is fair and equitable and does

not unfairly discriminate. Whether a plan is proposed in good faith is a critical element of this

determination. See In re Village at Camp Bowie I, L.P., 710 F.3d at 247 (citing In re Sandy

Ridge Dev. Corp., 881 F.2d 1346 (5th Cir. 1989)). Because, as set forth above, the Chapter 11



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Trustee is unable to establish that the Plan was proposed in good faith, he likewise will be unable

to establish that he meets the cram down standard. The Plan also unfairly discriminates on a

number of different bases. Moreover, the Chapter 11 Trustee provides no basis for classifying

Highland’s claims separately under the Plan, other than to gerrymander the classes.

G.      Section 1129(a)(10) – The Plan’s Claim Classifications are Improper

        56.        A further requirement under section 1129(a)(10) and related case law is that

claims be properly classified under a plan. See, e.g., In re Greystone III Joint Venture, 995 F.2d

1274, 1279 (5th Cir. 1991) (prohibiting the gerrymandering of classes to create a consenting

impaired class). Claims that are “substantially similar” must be classified together.      Terry’s

claim treatment under the Plan is a blatant example of gerrymandering. Terry has alleged a

partial secured claim based on pre-petition garnishment of certain funds.           However, the

garnishment occurred within the 90-day preference period and is per se avoidable. As such,

Terry is nothing more than a general unsecured creditor in this case. His claim should be

classified alongside other general unsecured creditors in Class 4.

        57.        Highland is a general unsecured creditor in the case, but its claim has been

separately classified from other general unsecured creditors. Similarly, HCLOF is a Class 2

claimant under Plan A, but is effectively a Class 5B claimant under Plan B and Plan C.

Presumably, the Chapter 11 Trustee bases such separate classification and disparate treatment on

his allegation that Highland and/or HCLOF are liable for a fraudulent transfer. However, that

matter remains subject to an on-going adversary proceeding. In other words, the Chapter 11

Trustee has simply made an allegation and is yet to prove his case.           Permitting separate

classification based on unproven allegations would seem an invitation for plan proponents to




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engage in all manner of mischief in order to craft around the requirement that substantially

similar claims be classified together.13

H.       Section 1129(a)(11) – The Plan is Not Feasible

         58.       Bankruptcy Code section 1129(a)(11) has been interpreted to require a finding

that a plan is economically feasible. This requires the Chapter 11 Trustee to demonstrate that the

plan has a “reasonable assurance of commercial viability.” In re Briscoe Enters., Ltd. II, 994

F.2d at 1166.        Moreover, the Chapter 11 Trustee must “present proof through reasonable

projections that there will be sufficient cash flow to funder the [Plan].” See In re Couture Hotel

Corp., 536 B.R. 712, 737 (Bankr. N.D. Tex. 2015).

         59.       On the record before the Court, the Chapter 11 Trustee has failed to demonstrate

sufficient funds to meet all the obligations set forth in the Plan.                     That includes the very

substantial administrative expense burden that appears to have surpassed the total claims alleged

by the Chapter 11 Trustee to be payable in this case.



I.       The Plan Cannot Effect an Assumption and Assignment of the PMAs Without
         Consent.

         60.       The Plan A transaction cannot be confirmed because it proposes to assume and

assign the PMAs to Oaktree (see Plan § 2.17(c)) in violation of section 365(c)(1) of the

Bankruptcy Code and without the requisite consent. See 11 U.S.C. § 365(c)(1) (trustee “may not
13
   HCLOF and Highland object to the Chapter 11 Trustee’s apparent attempt to litigate the fraudulent transfer
claims currently pending in the adversary proceeding as part of the plan confirmation process. As set forth in their
separately-filed joint motion to strike the expert report of Kevin Haggard of Miller Buckfire, any such attempts are
procedurally improper and inconsistent with the parties’ understanding and agreed-upon schedule. Highland and
HCLOF have a right under the Bankruptcy Code and applicable rules to litigate the fraudulent transfer claims in a
proceeding subject to the heighted procedural protections available in an adversary proceeding—not in the context
of a harried and accelerated confirmation process (a process of the Trustee’s own making). See In re Mansaray-
Ruffin, 530 F.3d 230, 242 (3d Cir. 2008) (“[W]here the Rules require an adversary proceeding—which entails a
fundamentally different, and heightened, level of procedural protections—to resolve a particular issue, a creditor has
the due process right not to have that issue without one.”). The Court should not condone this type of “litigation by
ambush.” See In re Vidal, No. 12-11758 BLS, 2013 WL 441605, at *5 (Bankr. D. Del. Feb. 5, 2013) (applying
Mansaray-Ruffin to avoid “lien-stripping by ambush”).

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assume or assign any executory contract . . .if applicable law excuses a party, other than the

debtor, to such contract . . . from accepting performance from or rendering performance to an

entity other than the debtor . . . and such party does not consent to such assumption or

assignment”); In re Cedar Chem. Corp., 294 B.R. 224, 232 (Bankr. S.D.N.Y. 2003) (“a contract

otherwise unassignable under § 365(c)(1) can be assumed and assigned if the non-debtor party

consents”). The IAA and New York state law provide the relevant “applicable law” prohibiting

assignment and excusing HCLOF from accepting performance from anyone other than Acis

and/or Highland.

        61.        The IAA prohibits the assumption and assignment of the PMAs to Oaktree

without, among other things, the Equity Noteholders’ consent. Section 205(a)(2) of the IAA

prohibits investment advisers (i.e., Acis LP) from entering into an investment advisory contract

with a client (here, the CLOs) that “fails to provide, in substance, that no assignment of such

contract shall be made by the investment adviser without the consent of the other party by the

contract.”    15 U.S.C. § 80b–5(a)(2).     Section 202(a)(1) of the IAA defines “assignment”

generally to include “any direct or indirect transfer . . . of an investment advisory contract” by an

adviser. 15 U.S.C. § 80b–2(a)(1) (emphasis added).

        62.        Section 14 of the PMAs (titled “Delegations/Assignments”) provides the

provisions intended to satisfy section 205(a)(2) of the IAA. Those sections, in relevant part,

prohibit Acis from assigning its responsibilities under the PMAs without the written consent of

each relevant CLO, at least a majority of the Equity Notes of each CLO, at least a majority of the

Controlling Class (as defined in the indentures), and satisfaction of the Global Rating Agency

Condition. See, e.g., 2013-1 PMA, § 14(a). Acis cannot transfer, either directly or indirectly, its

responsibilities under the PMAs without first satisfying the requisite conditions, including



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obtaining the written consent of a majority of the Equity Noteholders of each CLO (which the

Chapter 11 Trustee has not obtained).

        63.        The CWCapital Cobalt VR Ltd. v. CWCapital Invs. LLC, No. 17 Civ. 9463, 2018

U.S. Dist. LEXIS 90174 (S.D.N.Y. May 23, 2018) case does not mandate a different result.

First, the language the Trustee quotes is from a decades-old SEC no-action letter. Id. at *12

(quoting SEC No-Action Letter, Am. Century Cos., 1997 WL 1879138, at *5 (Dec. 23, 1997)).

SEC no-action letters are only binding with respect to the party requesting guidance, have no

precedential value unless the SEC agrees to allow a party to rely on them, and the SEC is free to

change their interpretation at any time.             See SEC, Fast Answers, available at

https://www.sec.gov/fast-answers/answersnoactionhtm.html. Second, CWCapital did not decide

whether the IAA separately requires client consent. 2018 U.S. Dist. LEXIS 90174, at *12-13.

Third, a reported case from a court in this District recently found to be well-pleaded a cause of

action for “assigning the benefits of [an] agreement to provide investment advisory services to

others” based on the IAA. Douglass v. Beakley, 900 F. Supp. 2d 736, 748 (N.D. Tex. 2012).

        64.        The proposed assumption and assignment undermines the public policy reasons

for section 205(a)(2) of the IAA. The Chapter 11 Trustee’s transfer of portfolio management

duties to Oaktree thus violates section 205(a)(2) of the IAA, and in turn, violates section

365(c)(1) of the Bankruptcy Code. The Chapter 11 Trustee and this Court cannot ignore the

dictates of the IAA. Cf. In re Adelphia Commc’ns Corp., 359 B.R. 65, 78-79 (Bankr. S.D.N.Y.

2007) (local ordinances provided “applicable law” that prohibited assignment).

        65.        The PMAs are also a personal services contract that cannot be assigned under

New York law without consent. See Wien & Malkin LLP v. Helmsley-Spear, Inc., 6 N.Y.3d 471,

482 (N.Y. 2006) (hotel management contract held below to be personal services contract;



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“personal services contracts generally may not be assigned absent the principal's consent”)

(citing 9 Corbin, Contracts § 865 [interim ed.]; 3 Farnsworth, Contracts §§ 11.4, 11.10 [3d ed]);

Marriott Int’l, Inc. v. Eden Roc, LLLP, 104 A.D.3d 583, 584 (N.Y. App. Div. 1st Dep’t 2013)

(“The parties’ detailed management agreement places full discretion with plaintiffs to manage

virtually every aspect of the hotel. Such an agreement, in which a party has discretion to execute

tasks that cannot be objectively measured, is a classic example of a personal services contract

that may not be enforced by injunction”); see also 6A N.Y. Jur., Assignments § 11 (“[T]he

principle that all ordinary business contracts are assignable is subject to the exception that

executory contracts for personal services or those involving a relationship of personal confidence

are not assignable by one party unless the other party consents or waives the right to object.

Thus, as a general rule, an employment contract for the performance of personal duties or

services is not assignable by the employer so as to vest in the assignee the right to the labor of

someone who never agreed to such employment. In fact, generally, no executory contract for

personal services can be assigned by either party.”).

        66.        Under New York law, personal service contracts are generally those that depend

on the skill or reputation of the performing party. See In re Schick, 235 B.R. 318, 323 (Bankr.

S.D.N.Y. 1999) (“Faced with a state law restricting assignment . . . a court must inquire into its

rationale and uphold the restriction under section 365(c) if the identity of the contracting party is

material to the agreement”). As one bankruptcy court has stated with respect to New York law

on the issue:

        It is well settled that when an executory contract is of such a nature as to be based
        upon personal services or skills, or upon personal trust or confidence, the debtor-
        in-possession or trustee is unable to assume or assign the rights of the bankrupt in
        such contract. . . . It is patently unfair in such cases to require a non-debtor third
        party to accept performance from anyone other than the original contract vendee,



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        unless the contract clearly provides for the right to assign to another contract
        vendee.

In re Grove Rich Realty Corp., 200 B.R. 502, 510 (Bankr. E.D.N.Y. 1996); see also Donald

Rubin, Inc. v. Schwartz, 559 N.Y.S. 2d 307, 310 (N.Y. App. Div. 1990) (describing a consulting

agreement as being “in the nature of a personal services contract”); Carbo Indus., Inc. v. Coastal

Ref & Mktg., Inc., 154 F. App’x 218, 220 (2d Cir. 2005) (“this case does not fall within the

limited exception developed for ‘personal services contracts’—e.g., consulting contracts.”)

(citing Donald Rubin, 559 N.Y.S. 2d at 310) (emphasis added).

        67.        As has been previously explained, HCLOF and its investors invested in reliance

on the skill and expertise of Highland to manage the CLOs. In this case, a witness put on by the

Chapter 11 Trustee – Zach Alpern of Stifel, Niocolas – testified to the fact investors pick sub-

advisors based on the fact that different advisors “have different styles and make different

creditor choices.”14 Mr. Alpern further testified that “equity holders make an informed decision

when they make their investment and their opinion of the advisor is one of the considerations

that they may make at the time of their investment, and it’s a consideration that they probably

take into account whether they hold or sell that investment.”15

        68.        Replacing Acis/Highland with Oaktree/Brigade frustrates the investment

objective of the parties, denies them the benefit of their bargain, and undermines and violates the

IAA as well as black-letter New York law relating to personal service contracts. The assumption

and assignment of the PMAs cannot be approved.




14
    See Transcript of August 1, 2018 hearing on the Chapter 11 Trustee’s Emergency Motion to Approve
Replacement Sub-Advisory and Shared Services Providers, Brigade Capital Management, LP and Cortland Capital
Markets Services LLC, at 67:24-25.
15
   Id. at 69:9-14.

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J.      The Disclosure Statement Should Not be Finally Approved

        69.        As to the Disclosure Statement, Highland and HCLOF renew their objections to

its final approval based on the fact that it describes a patently unconfirmable Plan. See In re

Quigley Co., 377 B.R. 110, 115-16 (Bankr. S.D.N.Y. 2007); In re Arnold, 471 B.R. 578, 586

(Bankr. C.D. Cal. 2002).


                                            IV.
                                   RESERVATION OF RIGHTS

        70.        Nothing herein shall be construed as an admission of, or concession to, any fact

contained in the Disclosure Statement or the Plan, and Highland and HCLOF reserve all rights to

contest and rebut any and all factual allegations at the Confirmation Hearing. As previously

mentioned herein, because discovery is ongoing per the Discovery Schedule, Highland and

HCLOF reserve their rights to amend these Objections.



        WHEREFORE, Highland and HCLOF respectfully request entry of an order (i) denying

confirmation of the Plan; (ii) denying final approval of the Disclosure Statement; and (iii)

granting such other and further relief to which Highland and HCLOF are entitled.




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Dated: August 13, 2018                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        This is to certify that on August 13, 2018, a true and correct copy of the foregoing was
served electronically via the Court’s ECF system on those parties registered to receive such
service.

                                                 /s/ Melina Bales
                                                 Melina Bales




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